                                                          U.S. DISTRICT
              Case 4:11-cr-00209-JM Document 684 Filed 10/29/12  Page 1 COURT
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                                                    EASTERN DISTRICT OF ARKANSAS

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                                    Eastern District of Arkansas

 United States of America                        )
                                                 )
                 vs                              )
                                                 )
 Joseph Blundell                                 )     Case No. 4:11CR000209-05
                      CONS.ENT TO MODIFY CONDITIONS OF RELEASE

I, Joseph Blundell, have discussed with Michelle R. Sims, Pretrial Services/Probation Officer,
modification of my release as follows:

It is respectfully recommended the defendant's pretrial bond conditions requiring home detention
with no electronic monitoring be removed. The defendant has remained compliant throughout
his supervision period. He has not received a positive drug test during his term of supervision
and has attended all drug counselh1g sessions. As such, this bond condition is no longer relevant
to Mr. Blundell's supervision.

l consent to this modification of my release conditions and agree to abide by this modification.


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                                       Date                                              Date



I have reviewed the conditions with my client and concur that this modification is appropriate.


~ {Z..~
 Signature ofDekcounsel
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                                                           Date


X          The above modification of conditions of release is ordered, to be effective on I0/~ G/;)a\      :l
[ ]        The above modification of conditions of release is not ordered.

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                                                           Date
